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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
     Attorneys for Nelson Gutierrez
 5
 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                )   Case No.: 2:14-cr-00239-GEB
10   UNITED STATES OF AMERICA,                  )
                                                )
11                Plaintiff,                    )   STIPULATION AND ORDER FOR
                                                )   CONTINUANCE OF JUDGMENT AND
12       vs.                                    )   SENTENCING AND AMENDED PSR
     NELSON GUTIERREZ,                          )   SCHEDULE
13                                              )
                  Defendant.                    )
14                                              )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for August 5, 2016, at 9:00 a.m. is continued to
18   October 28, 2016, at 9:00 a.m. in the same courtroom. Probation has requested
19   additional time to complete the PSR and Defendant needs additional time to prepare for
20   sentencing. Ross Naughton, Assistant United States Attorney, and Thomas A. Johnson,
21   Defendant’s attorney, agree to this continuance.
22
23   IT IS SO STIPULATED.
24
     DATED: June 27, 2016                               By:   /s/ Thomas A. Johnson
25                                                            THOMAS A. JOHNSON
                                                              Attorney for Nelson Gutierrez
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 1   DATED: June 27, 2016                            PHILLIP A. TALBERT
                                                     Acting United States Attorney
 2
                                               By:   /s/ Thomas A. Johnson for
 3                                                   ROSS NAUGHTON
                                                     Assistant United States Attorney
 4
     IT IS SO ORDERED.
 5
 6   Dated: July 5, 2016
 7
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28                         IN THE UNITED STATES DISTRICT COURT



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 1                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 2
                                                    )   Case No.: 2:14-cr-00239-GEB
 3   UNITED STATES OF AMERICA,                      )
                                                    )
 4                  Plaintiff,                      )   MODIFICATION OF SCHEDULE FOR
                                                    )   PRE-SENTENCE REPORT AND FOR
 5       vs.                                        )   FILING OF OBJECTIONS TO THE PRE-
     NELSON GUTIEEREZ,                              )   SENTENCE REPORT
 6                                                  )
                    Defendant.                      )
 7                                                  )
 8
     Judgment and Sentencing date:                              October 28, 2016
 9
10   Reply or Statement                                         October 21, 2016
11
     Motion for Correction of the Pre-Sentence
12   Report shall be filed with the court and                   October 14, 2016
     served on the Probation Officer and opposing
13   counsel no later than:
14
     The Pre-Sentence Report shall be filed with
15   the court and disclosed to counsel no later                September 30, 2016
     than:
16
17   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                  September 16, 2016
18   Probation Officer and opposing counsel
     no later than:
19
20   The proposed Pre-Sentence Report                           August 26, 2016
     shall be disclosed to counsel no later than:
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